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                                                                                        E-FILED
                                                        Wednesday, 13 May, 2009 04:59:37 AM
                                                               Clerk, U.S. District Court, ILCD




                IN THE UNITED STATES DISTRICT COURT
                FOR THE CENTRAL DISTRICT OF ILLINOIS
                          URBANA DIVISION

DEBORAH NUZZI and THOMAS NUZZI,            )
                                           )
                                           )
                Plaintiff,                 ) No. 07-2239
                                           )
        v.                                 )
                                           )
ST. GEORGE COMMUNITY CONSOLIDATED )
SCHOOL DISTRICT NO. 258;                   )
RICHARD REYES, individually and in his     )
official capacity; WILLIAM BODEMER,        )
individually and in his official capacity; )
SHARON THIESEN, individually and in her    )
official capacity; PETER DUBRAVEC,         )
individually and in his official capacity; ) JURY DEMANDED
MARK GROSSO, individually and in his       )
official capacity; and DARRELL PENDLETON, )
individually and in his official capacity, )
                                           )
                                           )
                Defendants.                )

                     PLAINTIFFS’ MOTION TO COMPEL

             NOW COMES THE PLAINTIFFS, DEBORAH NUZZI and

     THOMAS NUZZI, through their attorney, Armand L. Andry, and submits

     the following as their Motion to Compel:


  1. Defendants set the deposition of their own party, Richard Reyes, and took that
     deposition on May 12, 2008.

  2. After that three hour deposition Defendants attorney was advised that Plaintiffs

     would defer cross examination on their deposition until the date that the
     deposition of the Defendant was taken by the Plaintiff because we wanted to

     cover more items than those raised by Defendants and did not want to use up time

     we had available to take the Defendant Reyes’ deposition.

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 3. Defendants now refuse to produce Defendant Reyes for a deposition by the

      Plaintiff.

 4. Federal Rule of Civil Procedure 26(d) states: “(A) Sequence. Methods of
      discovery may be used in any sequence; and (B) discovery by one party does not

      require any other party to delay its discovery.”

 5. Federal Rule of Civil Procedure 30 states: (a)(1) …A party may, by oral
      questions, depose any person, including a party, without leave of court except as

      provided in Rule 30(a)(2)….

 6. Federal Rule of Civil Procedure 30( c ) States: “The examination and cross-
      examination of a deponent proceed as they would at trial under the Federal rules

      of Evidence…”

 7. Federal rule of Civil Procedure 30(d) States: (1) Duration. Unless otherwise
      stipulated or ordered by the court, a deposition is limited to 1 day of 7 hours. The

      court must allow additional time consistent with Rule 26(b)(2) if needed to fairly

      examine the deponent or if the deponent or another person, on any other
      circumstance impedes or delays the examination.”

 8.    No federal rule allows a party to limit or constrict the taking of a deposition of a

      party by pre-emptively taking his own deposition.
 9. Defendants’ refusal to produce Defendant Reyes for a deposition by Plaintiffs

      violates federal rules and limits and constricts Plaintiffs rights to depose any party

      regardless of whether they depose themselves.




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WHEREFORE, Plaintiffs respectfully seek an order from the court that Plaintiffs may

take the deposition of any party and cannot be limited or constricted by the Defendants

taking their own depositions.
                                             Respectfully Submitted,
                                             _Armand L. Andry__________________
                                             Armand L. Andry
ARMAND L. ANDRY
ATTORNEY FOR PLAINTIFF
One South Dearborn, Suite 2100
Chicago, Illinois 60603
773/626-3058

                         CERTIFICATE OF SERVICE
       I, Armand L. Andry, an attorney, certify that I caused to be served a copy of the
above document by filing the same with the courts ECF/ECM system on May 13, 2009.

                                     ____ Armand L. Andry__________




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